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Case 1:22-cv-04149-WMR Document 2 Filed 10/18/22 Page 1 of 2

AO 440 (Rev. 06/12) Surmmons ina Civil Action

UNITED STATES DISTRICT COURT

for the
Northern District of Georgia

Ramona Thurman Bivins,

 

Plaintifits)
/ v.

Felicia Franklin, in her individual and official
capacities, Aleka Anderson, in her individual and
official capacities, Gail Hambrick, in her individual and
official capacities, and Clayton County, Georgia,

Civil Action No. £:22-cy-4149

 

Defendant(s)

SUMMONS IN A CIVIL ACTION

Felicia Franklin, in her individual and official capacity
1626 Iris Walk
Jonesboro, GA 30238

To: (Defendant’s name and address)

A lawsuit has been filed against you.

Within 2] days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed, R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: Edward D. Buckely and Andrew R. Tate

Buckley Beal LLP
600 Peachtree Street NE, Suite 3900
Atlanta, GA 30308

Ifyou fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

KEVIN P, WEIMER
CLERK OF COURT

s/Stephanie Wilson-Bynum

Date; 10/18/2022 _
Signature of Clerk or Deputy Clerk

 

 

 
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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 

Civil Action No. 1:22-cv-4149

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ()

This summons for (name of individual and title, if any) fel, Cit Fn. Lt .

 

was received by me on (date) lo afar ;

CJ I personally served the summons on the individual at (place)

 

on (date) ; or

 

OF IT left the summons at the individual’s residence or usual place of abode with (name)

. 4 person of suitable age and discretion who resides there,

 

 

 

 

on (date) . and mailed a copy to the individual’s last known address: or
Ff Iserved the summons on (name of individual) beet in ar E Lows 4y bt tamer . who is
designated by law to accept service of process on behalf of (name offer ganization) Fe h ak fron Zz In
on (date) /[/// J) 2 : or
C1 [returned the summons unexecuted because > or

 

1 Other (specifi):

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

pate: _ M/1/22 fom

Lon Server’s signature
a), bn Ul oly Loacarr der fere

"Printed name and title

(27) byw ele fore
Btlevk GA 5O3/%

Server’s address

 

 

Additional information regarding attempted service, etc:

LePadea? Gave pce for Jacl Honcock by acigot Service fer her
